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 NOT FOR PUBLICATION

                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW JERSEY

   JAIYA WEBBS,                                                  Civil Action No.: 2:24-7763
                      Plaintiff,
          v.
                                                                   ORDER & JUDGMENT
   BRANDON ELLIOT GREEN,
                       Defendant.



 CECCHI, District Judge.
        Currently before this court is plaintiff Jaiya Webbs’s (“Plaintiff”) motion to enter default

 judgment against defendant Elliot Green (“Defendant”). ECF No. 5. As part of that motion,

 Plaintiff also seeks reasonable attorney’s fees and litigation costs. Id. Defendant has not appeared

 in this case or otherwise responded to the motion. The Court decides this matter without oral

 argument pursuant to Federal Rule of Civil Procedure 78(b). For the reasons set forth below,

 Plaintiff’s motion is GRANTED.

        WHEREAS after Plaintiff ended her romantic relationship with Defendant, he retaliated

 by posting three intimate videos of her online without her permission. Complaint ¶¶ 10-18.

 Defendant posted these videos on the social media platform Reddit and then posted the link to

 them on his X account, where he knew that some of Plaintiff’s family and friends would see the

 link because they followed his X account. See id; see also ECF 5-2 ¶ 7.

        WHEREAS Defendant was personally served with a copy of the summons and

 complaint on September 16, 2024. ECF No. 3. Since then, neither Defendant nor an attorney

 acting on his behalf has contacted Plaintiff’s counsel or filed anything on the docket contesting

 service or the jurisdiction of the Court. ECF No. 5-5 at 5.
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        WHEREAS Federal Rule of Civil Procedure 55 authorizes a district court to enter a default

 judgment against a defendant who has been properly served and has failed to answer or respond

 to the pleadings. Obtaining a default judgment is a two-step process. First, when a party has failed

 to plead or otherwise defend, the clerk must enter that party’s default. Fed. R. Civ. P. 55(a). Once

 the Clerk enters default, a plaintiff may move for a default judgment. Fed. R. Civ. P. 55(b). Here,

 the Clerk entered default on October 10, 2024, ECF No. 4, so the Court will address Plaintiff’s

 motion on the merits.

        WHEREAS “[b]efore entering default judgment, the Court must address the threshold

 issue of whether it has personal jurisdiction and subject matter jurisdiction over the parties.” The

 Prudential Ins. Co. of Am. v. Bramlett, No. 08-cv-119, 2010 WL 2696459, at *1 (D.N.J. July 6,

 2010). Then, “the Court must determine (1) whether there is sufficient proof of service, (2) whether

 a sufficient cause of action was stated, and (3) whether default judgment is proper[.]” Teamsters

 Health & Welfare Fund of Phila. & Vicinity v. Dubin Paper Co., No. 11-7137, 2012 WL 3018062,

 at *2 (D.N.J. July 24, 2012) (citations omitted). In making these determinations, “the factual

 allegations of the complaint, except those relating to the amount of damages, will be taken as true.”

 DIRECTV, Inc. v. Pepe, 431 F.3d 162, 165 n.6 (3d Cir. 2005) (quoting Comdyne I, Inc. v. Corbin,

 908 F.2d 1142, 1149 (3d Cir. 1990).

        WHEREAS as an initial matter, the Court must “look into its jurisdiction both over the

 subject matter and the parties.” Ramada Worldwide Inc. v. Benton Harbor Hari Ohm, L.L.C., No.

 05-cv-3452, 2008 WL 2967067, at *9 (D.N.J. July 31, 2008) (citation omitted). Diversity subject

 matter jurisdiction exists when “the matter in controversy exceeds the sum or value of $75,000 . .

 . and is between citizens of different states.” 28 U.S.C. § 1332(a). Here, the Court has diversity

 subject matter jurisdiction because Plaintiff is a citizen of New Jersey and Defendant resides in




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 the State of Pennsylvania. See Complaint ¶¶ 5-6. Further, Plaintiff seeks more than $75,000 in

 damages. See ECF No. 5-5 at 7-8 (seeking $150,000 in damages). Alternatively, federal question

 subject matter jurisdiction exists because the sole remaining claim at issue is a federal cause of

 action pursuant to 15 U.S.C. § 6851. 1 The Court also has personal jurisdiction over the Default

 Defendant. Here, Defendant has sufficient contacts with the state of New Jersey because he

 directed his activities at a New Jersey resident by directly messaging her to taunt her with links to

 the intimate videos of her he had posted on Reddit. “Because Plaintiff’s claims arise out of

 Defendant’s activities, this Court’s exercise of specific jurisdiction over Defendant is reasonable

 and fair.” S.S. v. Collins, No. 23-cv-0892, 2024 WL 3594350, at *5 (D.N.J. July 31, 2024).

        WHEREAS the Court next finds that Plaintiff has clearly established a claim under 15

 U.S.C. § 6851. As part of the Violence Against Women Act Reauthorization of 2022, Congress

 established a federal cause of action for the disclosure of persons’ “intimate visual depictions”

 without their consent under 15 U.S.C. § 6851. The statute provides, in pertinent part:

        an individual whose intimate visual depiction is disclosed, in or affecting interstate

        or foreign commerce or using any means or facility of interstate commerce, without

        the consent of the individual, where such disclosure was made by a person who

        knows that, or recklessly disregards whether, the individual has not consented to

        such disclosure.

 15 U.S.C. § 6851. An “intimate visual depiction” is any photo, video, or other visual image, that

 depicts, (1) the uncovered genitals or pubic area or (2) the display or transfer of bodily sexual




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   Although Plaintiff included several state law claims in her complaint, she withdrew those when
 moving for default judgment; only the Section 6851 federal claim remains. See ECF No. 5-5 at 6
 (“Plaintiff withdraws her[] claim under the state law and will only proceed with a claim under []
 15 U.S.C. §6851.”).


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 fluids, including an identifiable individual engaging in “sexually explicit conduct.” 15 U.S.C. §

 6851(a)(5). “Sexually explicit conduct” includes “graphic or simulated lascivious exhibition of the

 anus, genitals, or pubic area of any person,” and “sexual intercourse, including genital-genital,

 oral-genital, anal-genital, or oral-anal, whether between persons of the same or opposite sex.” 18

 U.S.C. § 2256(2)(A)-(B). Here the three videos were “intimate visual depictions” given that two

 of the videos depicted Plaintiff “perform[ing] fellatio on a man,” and the other depicted Plaintiff

 “nude in the shower.” Complaint ¶ 15. Next, a plaintiff must allege the defendant “disclosed” the

 “intimate visual depiction.” S.S. v. Collins, 2024 WL 3594350, at *5. To satisfy this element, the

 disclosure must be “in or affecting interstate or foreign commerce or using any means or facility

 of interstate or foreign commerce.” 15 U.S.C. § 6851(b)(1)(A). The complaint alleges “Defendant

 Green disclosed the videos of Plaintiff using his cell phone/computer” and published the videos

 online. Complaint ¶¶ 14, 20. Posting images online “constitutes transportation in interstate

 commerce.” S.S. v. Collins, 2024 WL 3594350, at *5. The last element Plaintiff must establish is

 consent. Id. at *6. Plaintiff’s complaint and sworn declaration establish that she never gave

 Defendant permission to share her intimate images. See Complaint ¶ 21, see also ECF No. 5-2 ¶

 6.

        WHEREAS three factors govern whether default judgment is proper: “(1) prejudice to the

 plaintiff if default is denied, (2) whether the defendant appears to have a litigable defense, and (3)

 whether defendant's delay is due to culpable conduct.” Chamberlain v. Giampapa, 210 F.3d 154,

 164 (3d Cir. 2000). First, the Court finds that Plaintiff will suffer prejudice without default

 judgment as she will have “no alternative mean of vindicating [her] claim[] other than filing for a

 default judgment.” West Trenton Hardware, LLC v. Brooklyn Textiles, LLC, 2024 WL 4263209,

 at *7 (D.N.J. Sept. 23, 2024) (“When a defendant fails to respond to a plaintiff's claims, the plaintiff




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 will be prejudiced absent a default judgment because the plaintiff will be left with no other means

 to vindicate its claims.”) (internal quotations and citations omitted). Second, “the Court was unable

 to ascertain whether [Defendant] has any litigable defenses,” “because [he] has not answered or

 otherwise appeared in this action.” Prudential Ins. Co. of Am. v. Taylor, 2009 WL 536403, at *1

 (D.N.J. Feb. 27, 2009). Finally, Defendant’s delay appears to be the result of culpable conduct

 considering Plaintiff effected service on October 10, 2024, but Defendant has yet to appear or

 otherwise respond. ECF No. 3-4; see also York Int'l Corp. v. York HVAC Sys. Corp., 2010 WL

 1492851 (D.N.J. Apr. 14, 2010) (holding that failure to respond is culpable conduct and indicates

 no meritorious defense). Accordingly, in light of these factors, the Court finds the entry of default

 judgment to be appropriate.

         WHEREAS Plaintiff requests and is entitled to liquidated damages in the amount of

 $150,000 pursuant to 15 U.S.C. Section 6851(b)(3)(A)(i). Under this provision, Plaintiff “may

 recover” either “the actual damages sustained” or “liquidated damages in the amount of $150,000.”

 15 U.S.C. § 6851(b)(3)(A)(i). Here, Plaintiff has elected not to pursue actual damages and instead

 seeks the $150,000 in liquidated damages. See ECF No. 5-5 at 7-8 (“Plaintiff [r]equests the

 [l]iquidated [d]amages. . . .”).

         WHEREAS Plaintiff also seeks attorney’s fees in the amount of $7,000 for 14 hours

 worked. Id. at 8; see also ECF No. 5-1 ¶¶ 29-33. In addition to actual or liquidated damages,

 Plaintiff may recover “reasonable attorney’s fees and other litigation costs reasonably incurred.”

 15 U.S.C. § 6851(b)(3)(A)(i). Here, the Court finds that the rates charged by Plaintiff's counsel of

 $500 per hour are reasonable when compared to the rates charged in other cases with similar

 circumstances. The amount of hours worked by Plaintiff’s counsel is also reasonable for the work

 performed in this case given the issues presented. Accordingly, the Court finds that an award of




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 attorney’s fees for the entire 14 hours worked by Plaintiff's counsel is reasonable here. The Court

 also grants Plaintiff’s request for $726.29 in litigation costs as those were properly documented

 and reasonably incurred. ECF No. 5-1, Exhibit 2.

         WHEREAS, for the aforementioned reasons, the Court shall grant Plaintiff's motion for

 default judgment and grant Plaintiff's request for attorney’s fees and costs.

         Accordingly, IT IS on this 13th day of May, 2025,

         ORDERED that Plaintiff’s motion for default judgment (ECF No. 5) is GRANTED; and

 it is further

         ORDERED that Plaintiff’s request for attorney’s fees and costs (ECF No. 5-5 at 7-8) is

 GRANTED; and it is further

         ORDERED that judgment is hereby entered in favor of Plaintiff Jaiya Webbs against

 Defendant Brandon Elliott Green in the total amount of $157.726.29, which consists of $150,000

 in damages, $7,000 in attorney’s fees, and $726.29 in litigation costs; and it is further

         ORDERED that the Clerk of Court shall mark this matter CLOSED.

         SO ORDERED.


                                                                       /s/ Claire C. Cecchi
                                                               CLAIRE C. CECCHI, U.S.D.J.




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